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                        IN THE UNITED STATES DISTRICT COURT

                         FOR THE NORTHERN DISTRICT OF OHIO

                                     WESTERN DIVISION


UNITED STATES OF AMERICA,                       ) CASE NO. 3:15-CR-103
                                                )
                      Plaintiff,                ) JUDGE JAMES G. CARR
                                                )
               v.                               )
                                                )
JASON J. KEATING, and                           )
CHRISTOPHER J. HOWDER,                          )
                                                )
                      Defendants.               ) FINAL ORDER OF FORFEITURE

       It appears to the Court that proper proceedings for the issuance of this Final Order of

Forfeiture have been had in this case as follows:

       1.      By the Preliminary Order of Forfeiture (Dkt. No. 53), filed on June 16, 2016, the

following properties were forfeited to the United States under 18 U.S.C. § 981(a)(1)(C) and 28

U.S.C. § 2461(c) for disposition in accordance with law, subject to the provisions of 21 U.S.C.

§ 853(n) [as incorporated by 28 U.S.C. § 2461(c)]:

       a.)     Bank of America cashier’s check number 9495506986 in the amount of $345.55,
               representing the contents of Bank of America account x4391.

       b.)     Bank of America cashier’s check number 9495506987 in the amount of $995.00,
               representing the contents of Bank of America account x6593.

       c.)     Bank of America cashier’s check number 9495506988 in the amount of
               $15,572.18, representing the contents of Bank of America account x7586.

       d.)     Bank of America cashier’s check number 9495506989 in the amount of $38.71,
               representing the contents of Bank of America account x7703.
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         e.)    Bank of America cashier’s check number 9495506990 in the amount of
                $22,948.71, representing the contents of Bank of America account x7201.

         f.)    Bank of America cashier’s check number 9495506991 in the amount of
                $2,395.09, representing the contents of Bank of America account x6101.

         2.     Following the entry of a preliminary order of forfeiture, the United States is

required to “publish notice of the order and of its intent to dispose of the property in such manner

as the Attorney General may direct.” See, 21 U.S.C. § 853(n)(1).

         3.     In accordance with 21 U.S.C. § 853(n)(1) and Rule 32.2(b)(6)(C) of the Federal

Rules of Criminal Procedure, notice of the Preliminary Order of Forfeiture (Dkt. No. 53) was

posted on an official government internet site for at least 30 consecutive days, beginning on June

21, 2016 and ending on July 20, 2016.

         4.     No third party claims to the subject properties were made as a result of the

internet notification. (Docket Report.)

         5.     Based upon the foregoing, and in accordance with 21 U.S.C. § 853(n)(7), the

United States is entitled to the entry of this final order of forfeiture.

         Accordingly, it is ORDERED, ADJUDGED, and DECREED:

         6.     The following properties are finally forfeited to the United States under 18 U.S.C.

§ 981(a)(1)(C) and 28 U.S.C. § 2461(c), and no right, title, or interest shall exist in any other

party:

         a.)    Bank of America cashier’s check number 9495506986 in the amount of $345.55,
                representing the contents of Bank of America account x4391.

         b.)    Bank of America cashier’s check number 9495506987 in the amount of $995.00,
                representing the contents of Bank of America account x6593.

         c.)    Bank of America cashier’s check number 9495506988 in the amount of
                $15,572.18, representing the contents of Bank of America account x7586.




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       d.)     Bank of America cashier’s check number 9495506989 in the amount of $38.71,
               representing the contents of Bank of America account x7703.

       e.)     Bank of America cashier’s check number 9495506990 in the amount of
               $22,948.71, representing the contents of Bank of America account x7201.

       f.)     Bank of America cashier’s check number 9495506991 in the amount of
               $2,395.09, representing the contents of Bank of America account x6101.

       7.      The United States shall seize and take control of the properties, and shall dispose

of them in accordance with law.

       8.      Upon the entry of this final order of forfeiture, the United States Attorney’s

Office, Northern District of Ohio (USAO), has acknowledged its intent to seek authorization

from the U.S. Department of Justice, Criminal Division, to disburse the forfeited properties -

through the petition for remission/restoration process - to the victims of the defendants’ criminal

activity. (See, Dkt. No. 52: Motion of the United States of America for a Preliminary Order of

Forfeiture, at p. 2.) Upon such disbursement, the amount(s) disbursed would be credited to any

restitution amount(s) determined at the sentencing hearing.

       SO ORDERED this 29th day of March, 2017.




                                                      /s/ James G. Carr
                                                     ___________________________________
                                                     James G. Carr
                                                     United States District Judge, N.D. Ohio




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